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Attorneys for Plaintiffs,
  Cody Conroy and H.S., a pseudonym

                                  UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEW JERSEY

-------------------------------------------------------------------x
 CODY CONROY and H.S., a pseudonym,                                 :
                                                                    :
                                          Plaintiffs,               :   Civil Action No.: 19-9452 (MAS)
                                                                    :   (TJB)
                        - against -                                 :
                                                                    :
 LACEY TOWNSHIP SCHOOL DISTRICT;                                    :   FIRST AMENDED COMPLAINT
 GREGORY BRANDIS, Principal of Lacey                                :
 Township High School; CRAIG WIGLEY, School                         :
 District Superintendent; MARK ANGELO,                              :
 Assistant Principal of Lacey Township High School; :
 CRAIG CICARDO, Anti-Bullying Specialist of the                     :
 Lacey Township High School; JOHN DOES 1-10,                        :
 all in their official and individual capacities,                   :
                                                                    :
                                          Defendants.               :
-------------------------------------------------------------------x

         Plaintiffs CODY CONROY (“Conroy”) and H.S., a pseudonym (“H.S.”) (collectively

referred to as “Plaintiffs”), by and through their attorneys, Pashman Stein Walder Hayden, P.C.




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and the American Civil Liberties Union of New Jersey Foundation, 1 as and for their Complaint

against Defendants LACEY TOWNSHIP SCHOOL DISTRICT (“the School District”) with its

principal place of business at 200 Western Blvd., Lanoka Harbor, NJ 08734; GREGORY

BRANDIS, Principal of Lacey Township High School, whose business address is 73 Haines St.,

Lanoka Harbor, NJ 08734; Craig Wigley, former School District Superintendent, whose address

is 45 Estaugh Ave., Haddonfield, New Jersey 08033; Mark Angelo, Assistant Principal of the

Lacey Township High School, whose business address is 73 Haines St., Lanoka Harbor, NJ 08734;

Craig Cicardo, Anti-Bullying Specialist, whose business address is 73 Haines St., Lanoka Harbor,

NJ 08734 and JOHN DOES 1-10, allege as follows:

                                          INTRODUCTION

        1.      This is a civil rights action to vindicate Conroy and H.S.’s constitutional rights

under the First Amendment of the United States Constitution, and Article 1, ¶6, of the New Jersey

Constitution. Students have a constitutional right to engage in expressive activities off school

grounds during their personal time without being subject to discipline by public school

administrators. Even if schools have authority to discipline a student’s speech, they may only do

so where that speech is likely to cause a substantial and material disruption to the school

environment. This action seeks the relief described below, including a declaration that the School

District and its administrators exceeded their authority and violated the law when they disciplined

Conroy and H.S. for posting photographs of guns on social media.




1
 Pursuant to Local Rule 10.1, Plaintiffs may be reached through the addresses of their attorneys as listed
above. The street addresses of Plaintiffs, who each live in Lanoka Harbor, New Jersey, are omitted to
maintain their privacy. Plaintiffs H.S. was a minor at the time the allegations in the Complaint occurred;
Conroy was an eighteen-year-old high school student.
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       2.      The Defendants have violated Conroy and H.S.’s constitutional right to free speech

by imposing discipline for non-threatening, purely off-campus speech, which both young men

expressed to friends on Snapchat during their personal time.

       3.      Conroy and H.S. posted on Snapchat pictures of firearms that are lawfully owned

and were lawfully used during a weekend target practice session at a family shooting range on

private property, far away from school grounds.

       4.      Under no circumstances could the pictures reasonably be construed as threatening,

violent, or otherwise posing any risk to the school community. The picture that H.S. posted

contained no captions whatsoever and merely depicted legal firearms lying upon a table. The

pictures that Conroy posted referred to a “zombie apocalypse.”

       5.      The School District claimed that the pictures would cause a material and substantial

disruption at school and imposed in-school suspensions upon Conroy and H.S.

       6.      Conroy and H.S. posted the pictures using a feature on Snapchat, whereby all

postings are automatically deleted after 24 hours. By the time that the School District became

aware of the photographs, they had already been deleted and were no longer viewable by anyone.

       7.      As a result, no substantial or material disruption of the operation of the school had

actually occurred and there was no specific and significant fear of future disruption.

       8.      The Defendants violated Conroy’s and H.S.’s free speech rights by punishing them

for purely off-campus speech with no evidence that the speech caused, or would cause, a material

and substantial disruption at school.

       9.      The Defendants’ imposition of discipline was also ultra vires because it was not

authorized by N.J.S.A. 18A:37-2 or N.J.A.C. 6A:16-7.5, which only permit a school to impose

discipline under limited circumstances that are not present in this case.



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                                         THE PARTIES

        10.     Plaintiff Cody Conroy resides in Lanoka Harbor, New Jersey. At the time of the

incidents giving rise to his claims, Conroy was a senior high school student at Lacey Township

High School.

        11.     Plaintiff H.S. resides in Lanoka Harbor, New Jersey. At the time of the incidents

giving rise to his claims, H.S. was a senior high school student at Lacey Township High School.

He was seventeen at the time of the events giving rise to this Complaint.

        12.     Defendant Lacey Township School District is a political subdivision of the State of

New Jersey organized and existing under Title 18 of the New Jersey Statutes which is responsible

for the operation and policies of the public schools within the Township of Lacey. The District

maintains its principal office at 200 Western Blvd., Lanoka Harbor, New Jersey 08734.

        13.     Defendant Gregory Brandis is, and at all relevant times hereafter mentioned was,

the Principal of Lacey Township High School. Defendant Brandis has at all times hereinafter

mentioned acted under color of state law and pursuant to official policy, practice, or procedure of

the School District. In his capacity as Principal, Defendant Brandis is obliged to act in conformity

with the United States Constitution and applicable federal and state laws. He is sued in both his

individual and official capacities.

        14.     Defendant Craig Wigley at all relevant times hereafter mentioned was the

Superintendent of the Lacey Township School District. Defendant Wigley has at all times

hereinafter mentioned acted under color of state law and pursuant to official policy, practice, or

procedure of the School District. In his capacity as Superintendent, Defendant Wigley was

responsible for ensuring that the School District and its officials act in conformity with the United

States Constitution and applicable federal and state laws. He is sued in both his individual and

official capacities.
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       15.     Defendant Mark Angelo at all relevant times hereafter mentioned was the Assistant

Principal of Lacey Township High School. Defendant Angelo has at all times hereinafter

mentioned acted under color of state law and pursuant to official policy, practice, or procedure of

the School District. In his capacity as Assistant Principal, Defendant Angelo is obliged to act in

conformity with the United States Constitution and applicable federal and state laws. He is sued

in both his individual and official capacities.

       16.     Defendant Craig Cicardo, at all relevant times hereafter mentioned was the Anti-

Bullying Specialist of Lacey Township High School. Defendant Cicardo has at all times

hereinafter mentioned acted under color of state law and pursuant to official policy, practice, or

procedure of the School District. In his capacity as Anti-Bullying Specialist, Defendant Cicardo is

obliged to act in conformity with the United States Constitution and applicable federal and state

laws. He is sued in both his individual and official capacities.

       17.     Defendant John Does 1-10 are other unknown school employees, administrators or

officials whose identities are not yet known but whose conduct caused or contributed to the

violations described herein and who at all times hereinafter mentioned acted under color of state

law and pursuant to official policy, practice or procedure of the School District.


                                 JURISDICTION AND VENUE

       18.     This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. §§ 1331 and 1343, as this action arises under the First Amendment of the Constitution of

the United States of America and 42 U.S.C. §§ 1983 and 1985. Declaratory and injunctive relief

is sought pursuant to 28 U.S.C. §§ 2201 and 2202.

       19.     This Court has supplemental jurisdiction over Plaintiffs’ claims under Article 1, ¶6

of the New Jersey Constitution and other state law claims pursuant to 28 U.S.C. § 1367.

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        20.    Venue is proper in this Court under 28 U.S.C. § 1391 because Defendant Lacey

 Township School District is deemed to reside in this District and the acts and actions which give

 rise to the claims asserted in this Complaint occurred in this District.

        21.    This Court has personal jurisdiction over all of the Defendants in this action because

 their unconstitutional and unlawful actions occurred in the State of New Jersey.


                                              FACTS

       A.      The School District’s Violation of Plaintiffs’ Constitutional Rights

       22.     Conroy and H.S. are two friends who both attended Lacey Township High School

in Ocean County, New Jersey.

       23.     At all relevant times, Conroy and H.S. were twelfth graders.

       24.     Neither Conroy nor H.S. had ever received any discipline during their high school

careers at Lacey Township High School other than warnings or minor discipline for being tardy to

school on a handful of occasions.

       25.     On Saturday, March 10, 2018, Conroy and H.S. travelled to Galloway Township in

Atlantic County to a shooting range on private property owned by Conroy’s brother. There, Conroy

and H.S. practiced shooting firearms that were legally purchased and properly permitted.

       26.     The firearms were never brought to school and were only used by Conroy and H.S.

on their own personal time, off school grounds and never at school-related events.

       27.     According to the School District, on Monday, March 12, 2018, a parent of another

student reported that H.S. had posted pictures of the guns on Snapchat, a multimedia messaging

platform. The parent allegedly said that the picture made her child nervous to come to school.

       28.     Defendant Craig Cicardo, the Anti-Bullying Specialist, and Defendant Mark

Angelo, the Assistant Principal, immediately met with H.S., who told them he was with Conroy

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over the weekend at a shooting range on private property owned by Conroy’s brother. He stated

that on Saturday afternoon he had taken and posted images of the guns on Snapchat without any

text, caption, or banner, but indicated that the postings were no longer available on Snapchat

because his postings to Snapchat are automatically deleted after 24 hours and thus they would have

been deleted by Sunday afternoon.

       29.       Though the Snapchat postings no longer existed for anyone to see, H.S. had a

picture of the firearms on his own smart phone camera roll, which he showed to Cicardo, Angelo,

and other school administrators. The picture depicted legal firearms lying on a table.

       30.       H.S. did not use the School District’s technology, accounts, or internet connection

to create the Snapchat post, nor was he on school grounds or at any school-related event when he

made the post.

       31.       The image could not be reasonably construed as threatening or violent or otherwise

posing any risk to the functioning of the school.

       32.       Despite the fact that the postings were created off-campus, outside of school hours,

and without any connection to school, and the fact that the postings did not materially or

substantially disrupt the work and discipline of the school and there was no specific and significant

fear that disruption would occur in the future because the posts were already deleted, the School

District immediately subjected H.S. to a three-day in school suspension and one Saturday detention

for speech that occurred outside of school hours and off school grounds.

       33.       The mere fact that one student was nervous because of H.S.’s Snapchat posting did

not constitute a substantial and material disruption.

       34.       Although no one even reported seeing any images of firearms on Conroy’s social

media account, Cicardo nonetheless removed Conroy from his classes and brought him to

Angelo’s office for questioning regarding H.S.’s Snapchat posts.
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       35.     During that questioning, Conroy stated that he also had posted two pictures on

Snapchat of the firearms that were used during the weekend target practice at his brother’s house.

Like H.S.’s posts, the pictures were no longer available on Snapchat because they were

automatically deleted by Snapchat after 24 hours of posting.

       36.     Nonetheless, Conroy also still had the pictures of the firearms on his smart phone

camera roll and showed them to Angelo. Conroy said they were posted with the captions, “hot

stuff” and “If there’s ever a zombie apocalypse, you know where to go.” The pictures showed legal

firearms lying on a table and could not reasonably be construed as threatening violence against

any person or otherwise posing any risk. Angelo used his own iPad to capture pictures of the

images on Conroy’s phone.

       37.     Conroy did not use the School District’s technology, accounts, or internet

connection to create the Snapchat post, nor was he on school grounds or at any school-related

event when he made the post.

       38.     Despite the fact that the postings were created off-campus, outside of school hours,

and without any connection to school, and the fact that the School District never alleged that

anyone even saw Conroy’s Snapchat posts and thus his posts unequivocally did not cause any

material or substantial disruption at school, the School District immediately subjected Conroy to

a three-day in-school suspension and one Saturday detention for speech that occurred outside of

school and off school grounds.

       39.     Upon information and belief, Brandis, Wigley, Cicardo, Angelo, and John Does 1-

10 made the decision to suspend Conroy and H.S. for their speech.

       40.     Both young men served the three-day in-school suspensions in a room with poor

temperature control and other disciplined students who were distracting, but the School District

eventually rescinded the Saturday detentions. As a result of their suspensions, both young men
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were unable to attend their classes, including Advanced Placement (AP) courses. On the final day

of the in-school suspensions, Wigley stated that he was allegedly “expunging” the discipline so

that there was no documentation of it in Conroy or H.S.’s student files.

       41.     The fact that the young men were disciplined, however, is no secret. Other students

learned of the suspensions and, as a result, the news media heavily covered the story. See, e.g., J.

Goldman, “N.J. district facing backlash over gun photo suspensions changes policy.” NJ

ADVANCE MEDIA (Mar. 19, 2018); S. Duke, “Family Visits Gun Range — Their Kids Get

Suspended From School.” NEW AMERICAN (Mar. 19, 2018); A. Ogelsby, “Gun-rights advocates

push Lacey high school to amend weapons policy.” ASBURY PARK PRESS (Mar. 19, 2018); “Lacey

Township School District revises policy banning guns outside of school.” ASSOCIATED PRESS

(Mar. 19, 2018); K. Bosco, “Parents: Lacey Schools Went Too Far Suspending Kids Over Gun

Pic.” JERSEY SHORE ONLINE (Mar. 20, 2018); A. Ogelsby, “Did Lacey school violate students'

Second Amendment rights?” ASBURY PARK PRESS (Mar. 21, 2018); B. Palma, “Were Two New

Jersey High School Students Suspended for Going to a Gun Range After School?” SNOPES (April

30, 2018).

       42.     The School District has never publicly admitted that it should not have punished

Conroy and H.S. and that it violated their free speech rights when it did so. In fact, as rumors

spread on social media about Conroy and H.S. being suspended for using firearms in their private

time, Wigley simply said that the rumors were incorrect, that information was contained within

confidential student files, and that no one’s rights were violated. He refused to provide more

information to the public. These repeated public denials allowed the public to reasonably infer that

Conroy and H.S. were lawfully disciplined because they engaged in some other misconduct. To

this day, the School District maintains that it was justified in disciplining Conroy and H.S.



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       B.         The School’s Unconstitutionally Vague and Overbroad Policies

       43.        The School District’s Code of Student Conduct and Regulation 5600 provides the

following with regard to punishment for off-campus conduct:

             I.      Student Conduct Away from School Grounds

                     1. The Building Principal or designee has the right to impose a
                        consequence on a student for conduct away from school grounds
                        that is consistent with the Board’s Code of Student Conduct,
                        pursuant to N.J.A.C. 6A:16-7.1.

                         a. This authority shall be exercised only when it is reasonably
                            necessary for the student’s physical or emotional safety,
                            security, and well-being or for reasons relating to the safety,
                            security, and well-being of other students, staff, or school
                            grounds, pursuant to N.J.S.A. 18A:25-2 and 18A:37-2.

                         b. This authority shall be exercised only when the conduct that is
                            the subject of the proposed consequence materially and
                            substantially interferes with the requirements of appropriate
                            discipline in the operation of the school.

                         c. Consequences for conduct away from school grounds shall be
                            handled in accordance with the Board approved Code of Student
                            Conduct, pursuant to N.J.A.C. 6A:16-7.1, Policy and Regulation
                            5600, and as appropriate, in accordance with N.J.A.C. 6A:16-
                            7.2, 7.3, or 7.4.

                     2. School authorities shall respond to harassment, intimidation, or
                        bullying that occurs off school grounds, pursuant to N.J.S.A. 18:A-
                        37-14 and 15.3 and N.J.A.C. 6A:16-1.3, 7.1, and 7.2.

       44.        The Code of Student Conduct and Regulation 5600 is unconstitutionally vague

because it is devoid of any detail that would provide Plaintiffs adequate warning that their Snapchat

posts would constitute punishable conduct and the policy fails to set forth adequate standards to

prevent arbitrary and discriminatory enforcement.

       45.        The Code of Student Conduct and Regulation 5600 is unconstitutionally overbroad

because it reaches a substantial amount of constitutionally protected conduct by allowing students

to be punished for protected speech that occurs away from school grounds. Indeed, that is what
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 occurred in this case when Defendants applied the policy to protected speech that occurred on

 private property, on the weekend, and away from school grounds.

                                          FIRST COUNT
                      (Violation of the First Amendment of the United States
                     Constitution, 42 U.S.C. § 1983 and § 1988 -- Punishment)

         46.      Plaintiffs re-allege the allegations set forth in the preceding Paragraphs as if fully

 set forth herein.

         47.      Conroy and H.S.’s purely off-campus Snapchat communications with their friends

 constitute speech protected by the First Amendment to the United States Constitution, as applied

 to the states through the Due Process Clause of the Fourteenth Amendment.

         48.      A school cannot punish students for exercising their free speech rights away from

 school grounds or school activities and on their own private time.

         49.      Moreover, even if schools had the authority to punish students for off-campus,

 purely personal speech, Conroy and H.S.’s off-campus speech did not cause any material and

 substantial disruption at the school.

         50.      Because the Snapchat posts were automatically deleted, there was no specific and

 significant fear of future material and substantial disruption at the school.

         51.      Defendants’ punishment of Conroy and H.S. violated clearly established

 constitutional rights.

                                         SECOND COUNT
                      (Violation of the First Amendment of the United States
               Constitution, 42 U.S.C. § 1983 and § 1988 – School District’s Policies)

         52.      Plaintiffs re-allege the allegations set forth in the preceding Paragraphs as if fully

 set forth herein.

         53.      The School District’s Code of Student Conduct and Regulation 5600 permits school

 authorities to impose discipline upon a student for conduct that occurs away from school grounds
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 where the conduct materially and substantially interferes with the requirements of appropriate

 discipline in the operation of the school.

         54.     Schools, however, may not punish students for off-campus speech that is otherwise

 protected by the First Amendment.

         55.     Moreover, the Code of Student Conduct and Regulation 5600 provides no detail

 regarding the specific behaviors that would result in punishment, providing no definition or context

 for students to understand what “materially or substantially interference” even means.

         56.     The Code of Conduct and Regulation 5600 is vague and overbroad and resulted in

 Conroy and H.S. being disciplined for constitutionally protected speech and/or expressive conduct

 that occurred off school grounds and in their own personal time.

                                         THIRD COUNT
              (Violation of Plaintiffs’ State Right to Free Speech Guaranteed by
           Article I, Paragraph 6 of the New Jersey Constitution and the New Jersey
              Civil Rights Act and New Jersey Civil Rights Act, N.J.S.A. 10:6-2)

         57.     Plaintiffs re-allege the allegations set forth in the preceding Paragraphs as if fully

 set forth herein.

         58.     Defendants’ punishment of Conroy and H.S. for speech that occurred outside of

 school hours, off of school grounds and not at school-related activities, and which did not, and

 could not have, materially or substantially interrupted the school environment, amounts to

 retaliation for a constitutionally protected activity and a violation of Article I, Paragraph 6 of the

 New Jersey Constitution.

         59.     Defendants’ punishment of Conroy and H.S. violated clearly established

 constitutional rights.

         60.     The Code of Conduct and Regulation 5600 is vague and overbroad and resulted in

 Conroy and H.S. being disciplined for constitutionally protected speech and/or expressive conduct


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 that occurred off school grounds and during their own personal time.

         WHEREFORE, Plaintiffs request that the Court order relief against the Defendants and

 in favor of Plaintiffs, as follows:

         A.      A declaration that Defendants’ conduct as set forth above violated Conroy and

 H.S.’s constitutional rights to free speech under the United States and New Jersey Constitutions.

         B.      An order granting Plaintiffs judgment and an award of damages in an amount to

 be determined at trial.

         C.      An order awarding Plaintiffs their costs of suit, including reasonable attorneys’ fees

 and expenses, pursuant to 42 U.S.C. § 1983 and § 1988 and N.J.S.A. 10:6-2 et seq.; and

         D.      Such other and further relief the Court deems just and necessary.



         Dated: February 27, 2020               By: /s/ CJ Griffin

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                                                Cody Conroy and H.S., a pseudonym




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                 CERTIFICATION PURSUANT TO LOCAL CIVIL RULE 11.2

        The undersigned hereby certifies that the matter in controversy is not the subject of any

 other action in any court, a pending arbitration proceeding, or a pending administrative proceeding,

 and that no other action or proceeding is contemplated.

        I certify under penalty of perjury that the foregoing is true and accurate.

                                                      PASHMAN STEIN WALDER HAYDEN
                                                      A Professional Corporation
                                                      Attorneys for Plaintiffs,
                                                      Cody Conroy and H.S., a pseudonym


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                                                              Dated: February 27, 2020
                                                              Hackensack, New Jersey




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